Case 2:03-cr-20323-BBD Document 52 Filed 06/07/05 Page 1 of 3 Page|D 56

IN THE UNITED sTA'rES DISTRICT COURT F“H) 1511 % on
FoR THE WESTERN DISTRICT oF TENNESSEE
WESTERN DIvIsloN 05 JUN _-; gm \\: 12

meant 1a 1111 ‘c'aouo

~\§:J;L§i ligle '[l§ ;v`§ I:\;PH 15

UNITED STATES OF AMERICA )

Plaintiff, §
VS § CR. NO. 03-20323-D
DURRELL MACKEY §

Defendant. ))

 

AMENDED ORDER TO SURRENDER

 

The defendant, Durrell Mackey, having been sentenced in the above case to the custody of the
Bureau of Prisons and having been granted leave by the Court to report to the designated facility,
IS HEREBY ORDERED to surrender to the Bureau ofPriSonS by reporting to the FCI Memphis
SCP, 1101 Joho A. Denie Rd., Memphis, Tennessee 38134 by 2:00 p.m. on THURSDAY,
JULY 7, 2005.

IT IS FURTHER ORDERED that upon receipt of a copy of this Order the defendant shall
report immediately to the Office of the Clerk, Federal Ofiice Building, 167 N. Main Street, Room 242,
Mernphis, Tennessee 38103 to acknowledge by signature receipt of a copy of this Order and that the
defendant will report as ordered to the facility named above.

ENTERED this the §/Q day ofJune, 2005.

 

ITED STATES DISTRICT JUDGE

' Om lance
+ oocKet sheet m 0 §§
m emeer cri the 0

Th‘S docume b} FF\OrP on "

with Rule 55 and!or 321

Case 2:03-cr-20323-BBD Document 52 Filed 06/07/05 Page 2 of 3 Page|D 57

ACKNOWLEDGEMENT

l agree to report as directed above and understand that
if I fail to report, I may be cited for contempt of
Court and if convicted, may be punished by
imprisonment, fine or both.

Signed and acknowledged before me on

 

 

 

Clerk/Deputy Clerk Defendant

 

Notice of Distribution

This notice confirms a copy ofthe document docketed as number 52 in
case 2:03-CR-20323 Was distributed by faX, mail, or direct printing on
June 7, 2005 to the parties listed.

 

 

Leonard E. Lucas

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/1emphis7 TN 38103

Leslie I. Ballin

BALLIN BALLIN & FISHMAN
200 Jefferson Ave.

Ste. 1250

1\/1emphis7 TN 38103

Handel R. Durharn
DURHAM & ASSOCIATES
100 North Main St.

Ste. 2601

1\/1emphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

